Case 23-40709   Doc 70-31 Filed 01/16/24 Entered 01/16/24 13:03:39   Desc Exhibit
                      EE - Land Court Docket Page 1 of 11




                          Exhibit EE
10/3/23, 1:51Case
              PM  23-40709           Doc 70-31 Filed 01/16/24
                                                       Case Details -Entered   01/16/24
                                                                      Massachusetts Trial Court13:03:39
                                                                                                N5            Desc Exhibit
                                           EE - Land Court Docket Page 2 of 11
I 19 TL 000768 Town of Westborough v. Westborough SPE, LLC et al.

    Case Type:
    Tax Lien
    Case Status:
    Closed
    File Date
    07/08/2019
    DCM Track:

    Initiating Action:
    Tax Lien - one tax taking
    Status Date:
    07/08/2019
    Case Judge:
    Speicher, Hon. Howard P.
    Next Event:


   rProperty Information
     Turnpike Road
     Westborough
     RECORD
                                                                                                                                      I




   All Information   Party   Event   Docket   Financial   Checks   Receipt   Disposition


     Party Information
     Town of Westborough
     - Plaintiff
      Party Attorney
      Attorney
      Bloom, Esq., Dawn E
      Bar Code
      659839
      Address
      43039 Boardwalk Loop
      Punta Gorda, FL 33982
      Phone Number
      (413)529-9936
      Attorney
      Leahy, Esq., Iris Ann
      Bar Code
      697783
      Address
      Law Office of Iris A. Leahy
      4 Open Square Way
      Suite 217
      Holyoke, MA 01040
      Phone Number
      (413)322-8318
                                                                                                             More Party Information

     Westborough SPE, LLC
     - Defendant
      Party Attorney
      Attorney
      Nathanson, Esq., Alvin S
      Bar Code
      367480
      Address
      Nathanson and Goldberg, P.C.
      183 State St
      Fifth Floor
      Boston, MA 02109
      Phone Number
      (617)210-4810
      Attorney
      Schlager, Esq., Scott Adam
      Bar Code
      695421

https://www.masscourts.org/eservices/searchresults.page?x=fb*nLV2hYsKVXOA4Wbjnb*eVMyAUArKgiKjYVe3JvOulB58O2*Iddq5SL*Ww1rLvbsRlo...    1/10
10/3/23, 1:51Case
              PM  23-40709          Doc 70-31 Filed 01/16/24
                                                      Case Details -Entered   01/16/24
                                                                     Massachusetts Trial Court13:03:39
                                                                                               N5                    Desc Exhibit
                                          EE - Land Court Docket Page 3 of 11
   • Nathanson and Goldberg, P.C.
     183 State St
     5th Floor
     Boston, MA 02109
   • Phone Number
   • (617)909-4511
                                                                                                                    More Party Information

        F. Jan Bluestein, a/k/a Jan Blaustein Scholes, R.E. Signatory & Agent for Westborough SPE LLC and Pres. of Babcock & Brown
        Adminstrative Services, Inc.
        - Defendant
     (Party Attorney
                                                                                                                    More Party Information

        Dyann Blaine, R.E. Signatory and Agent for Westborough SPE LLC
        - Defendant
     (Party Attorney
                                                                                                                    More Party Information

        James D. Jaworski, Treasurer of Brown & Babcock Administrative Services, Inc.
        - Defendant
     (Party Attorney
                                                                                                                    More Party Information

        David Lombe, Liquidator for Babcock and Brown Limited
        - Defendant
     (Party Attorney
                                                                                                                    More Party Information

        Joseph Scarcella, Esq., Johnson Winter & Slattery, Counsel for David Lombe, Liquidator for Babcock and Brown Limited
        - Defendant
     (Party Attorney
                                                                                                                    More Party Information

        Interstate Theaters Corporation
        - Defendant
        Party Attorney
                                                                                                                    More Party Information
    P                                                                                                                                         A
        Events
     Date                    Session      Location                        Type                      Event Judge              Result
     06/15/2020 02:00 PM C.J. Piper       Courtroom 404 - Fourth Floor    Motion                    Piper, Hon. Gordon H.    Held via video
     01/10/2023 09:00 AM J. Speicher      Courtroom 1102 - Eleventh Floor Hearing on Lis Pendens    Speicher, Hon. Howard P. Held via video
     01/19/2023 10:00 AM Tax Session                                      Motion to Vacate Judgment Patterson, Deborah J.    Rescheduled
     02/09/2023 02:00 PM Tax Session                                      Motion to Vacate Judgment Patterson, Deborah J.    Rescheduled
     02/23/2023 02:00 PM Tax Session Courtroom 403 - Fourth Floor         Motion to Vacate Judgment Patterson, Deborah J.    Rescheduled
     03/23/2023 02:00 PM Tax Session Courtroom 403 - Fourth Floor         Motion to Vacate Judgment Patterson, Deborah J.    Not held
     05/16/2023 10:15AM J. Speicher       Courtroom 401 - Fourth Floor    Motion                    Speicher, Hon. Howard P. Held via video
     08/17/2023 02:00 PM J. Speicher      Courtroom 401 - Fourth Floor    Pre-Trial Conference      Speicher, Hon. Howard P. Rescheduled
     08/31/2023 02:00 PM J. Speicher      Courtroom 401 - Fourth Floor    Pre-Trial Conference      Speicher, Hon. Howard P. Not held




        Docket Information
     Docket        Docket Text                                                                                         Amount Image
     Date                                                                                                               Owed Avail.
     07/08/2019 Complaint filed.
                                                                                                                                      Image
     07/08/2019 Case assigned to the Tax Track per Land Court Standing Order 1:04.
     07/08/2019 Land Court filing complaint tax Receipt: 405581 Date: 07/09/2019                                       $200.00
     07/08/2019 Land Court initial deposit tax Receipt: 405581 Date: 07/09/2019                                        $300.00

https://www.masscourts.org/eservices/searchresults.page?x=fb*nLV2hYsKVXOA4Wbjnb*eVMyAUArKgiKjYVe3JvOulB58O2*Iddq5SL*Ww1rLvbsRlo...                2/10
10/3/23, 1:51Case
              PM  23-40709          Doc 70-31 Filed 01/16/24
                                                      Case Details -Entered   01/16/24
                                                                     Massachusetts Trial Court13:03:39
                                                                                               N5                             Desc Exhibit
     Docket      Docket Text
                                          EE - Land Court Docket Page 4 of 11                                                     Amount
     Date                                                                                                                          Owed Avail.
     07/08/2019 Land Court surcharge Receipt: 405581 Date: 07/09/2019                                                              $15.00
     07/10/2019 Michael H. Delaney, Esq. appointed as Title Examiner.
     08/26/2019 Report filed by Michael H. Delaney, Esq..
                                                                                                                                             Image
     08/28/2019 Land Court examiner costs                                                                                         $150.00
     09/05/2019 Checklist sent.
     11/07/2019 Letter of Diligent Search Filed.
     12/31/2019 Checklist completed.
     05/12/2020 Scheduled
                Event: Motion for Alternative Service
                Date: 06/15/2020 Time: 02:00 PM

                 Zoom instructions to be sent by the Recorder's Office in advance of the hearing date.

                 Judge: Piper, Hon. Gordon H.
     05/19/2020 Motion for Alternative Service and Supporting Memorandum, filed.
                                                                                                                                             Image
     06/15/2020 Event Resulted: Motion scheduled on:
                    06/15/2020 02:00 PM
                Has been: Held via video

                 June 15, 2020. Hearing held on Plaintiff's Motion for Alternative Service via videoconference. Attorneys
                 Shirin Everett and Dawn Bloom appeared for plaintiff. Jon Steinberg, Assessor for the town of
                 Westborough, also observed the hearing. Attorney Bloom reported that the defendant owner of the parcel
                 in question is a defunct Delaware limited liability company which withdrew from Massachusetts in 2007,
                 had its registration in Delaware cancelled in 2014, and has listed as its agent for service in Delaware a
                 corporation service company that is no longer active in that role. Attorney Bloom indicated that the
                 manager listed on its Massachusetts registration is a defunct entity named Babcock & Brown
                 Administrative Services, Inc., that Mr. Steinberg was able to contact a related Delaware corporation by the
                 name of Babcock & Brown operating in San Francisco, and that the related corporation's officers indicated
                 that it has no interest in the property. Attorney Everett reported that after the town of Westborough had
                 begun proceedings to acquire title to the property by eminent domain, an Australian law firm notified the
                 town that it represented the administrator of the liquidation of an Australian entity named Babcock &
                 Brown LP, and that it was investigating whether Babcock & Brown LP might hold any interest in the
                 property; the town has since received requests from that law firm concerning the status of eminent domain
                 proceedings, but has received no response to several requests by the municipality that that entity address
                 the basis for its potential claim to any interest in the property. Attorney Bloom indicated that the plaintiff
                 asserts that the defendant owes approximately $400,000 to the town in unpaid real estate taxes and
                 interest, and also owes another $300,000 pursuant to a reciprocal maintenance agreement concerning the
                 property's shared parking lot. Attorney Bloom also indicated that there appears to be no mortgage
                 currently encumbering the property, as there is a recorded discharge of the most recent mortgage of
                 record. Plaintiff to attempt to make direct service on (1) all individuals named in the proposed citation for
                 whom plaintiff has identified an address; (2) the Australian law firm of Johnson, Winter, & Slattery; and (3)
                 Mr. David Lombe, whom counsel identified as the administrator of the Babcock & Brown LP liquidation.
                 Court ALLOWED plaintiffs motion for alternative service by publication. Plaintiff to submit to the court's tax
                 lien department a proposed form of an order of notice for publication in a newspaper of general circulation
                 in the town of Westborough as to the defendant entity, no longer in legal existence, and its successors.
                 Following return dates on all summonses and the published citation, plaintiffs to request default enter
                 under Mass. R. Civ. P. 55 (a) against all parties not timely filing answer or responsive pleading. Upon entry
                 of any indicated default(s), plaintiffs to file motion with the Recorder requesting entry of a finding of the
                 amount and time for redemption from the tax taking. If any additional party appears or answers, parties
                 promptly to request, in writing, further case management conference. (Piper, C.J.)

                 (Notice of Docket Entry sent by email to Attorneys Dawn Bloom and Shirin Everett)
     09/01/2020 Land Court additional deposit tax Receipt: 417793 Date: 09/01/2020                                                $400.00
     09/15/2020 Citation by Publication in Village News, issued. Returnable 11/09/2020.
     09/22/2020 Citation issued as to the land described as: Property: Land and any building(s) thereon Containing 29.336
                AC (more or less) Location: 231 Turnpike Road Assessors: 32-48-0 Registry: Worcester District Registry
                of Deeds Book 19369, Page 75. Returnable 11/16/2020.
     09/22/2020 Land Court notices mailing - Certified Mail                                                                        $59.75
                Issue Date: 09/22/2020
                Service: Service
                Method: Certified Mail
                Cost Per: 11.95

                 Interstate Theaters Corporation
                 Mailing Address
                 101 E. Blount Ave.
                 Knoxville, TN 37920
                 Tracking Number: 71901706197000959805

https://www.masscourts.org/eservices/searchresults.page?x=fb*nLV2hYsKVXOA4Wbjnb*eVMyAUArKgiKjYVe3JvOulB58O2*Iddq5SL*Ww1rLvbsRlo...                   3/10
10/3/23, 1:51Case
              PM  23-40709          Doc 70-31 Filed 01/16/24
                                                      Case Details -Entered   01/16/24
                                                                     Massachusetts Trial Court13:03:39
                                                                                               N5                    Desc Exhibit
     Docket      Docket Text
                                          EE - Land Court Docket Page 5 of 11                                         Amount
     Date                                                                                                              Owed
                 Interstate Theaters Corporation
                 Mailing Address
                 do CT Corporation System, Reg. Agent
                 155 Federal St., Suite 700
                 Boston, MA 02110
                 Tracking Number: 71901706197000959812

                 James D. Jaworski, Treasurer of Brown & Babcock Administrative Services, Inc.
                 Mailing Address
                 1715 Easton Dr.
                 Burlingame, CA 94010
                 Tracking Number: 71901706197000959829

                 Dyann Blaine, R.E. Signatory and Agent for Westborough SPE LLC
                 Mailing Address
                 20 Queensbrook Pl.
                 Orinda, CA 94563
                 Tracking Number: 71901706197000959836

                 F. Jan Bluestein, a/k/a Jan Blaustein Scholes, R.E. Signatory & Agent for Westborough SPE LLC and
                 Pres. of Babcock & Brown Adminstrative Services, Inc.
                 Mailing Address
                 151 E. 31st
                 Apt. 28B
                 New York, NY 10016
                 Tracking Number: 71901706197000959843 Receipt: 418144 Date: 09/23/2020
     09/23/2020 Land Court notices mailing out of country - Registered Mail                                            $52.50

                 RE 550 804 582US
                 David Lombe, Liquidator for Babcock and Brown Unlimited
                 Deloitte Financial Advisory Pvt. Ltd.
                 Grosvenor Place Level 9
                 225 George St.
                 Sydney, NSW 2000
                 Australia

                 RE 550 804 596US
                 Joseph Scarella, Esq. Johnson Winter & Slattery, Counsel for
                 David Lombe, Liquidator for Babcock and Brown Unlimited
                 20 Bond Street, Level 25
                 Sydney, NSW 2000
                 Australia Receipt: 418145 Date: 09/23/2020
     10/01/2020 Successful Service
                Method : Certified Mail
                Issued : 09/22/2020                                                                                             Image
                Service : Service
                Served : 09/26/2020
                Return : 09/30/2020
                On     : James D. Jaworski, Treasurer of Brown & Babcock Administrative Services, Inc.
                Signed By :
                Reason : Successful
                Comment :
                Tracking #: 71901706197000959829
     10/01/2020 Successful Service
                Method : Certified Mail
                Issued : 09/22/2020                                                                                             Image
                Service : Service
                Served : 09/28/2020
                Return : 09/30/2020
                On     : Interstate Theaters Corporation
                Signed By :
                Reason : Successful
                Comment :
                Tracking #: 71901706197000959812
     10/01/2020 Successful Service
                Method : Certified Mail
                Issued : 09/22/2020                                                                                             Image
                Service : Service
                Served : 09/28/2020
                Return :10/01/2020
                On     : Interstate Theaters Corporation
                Signed By :
                Reason : Successful
                Comment :
                Tracking #: 71901706197000959805
     10/06/2020 Tear Sheet Received.

https://www.masscourts.org/eservices/searchresults.page?x=fb*nLV2hYsKVXOA4Wbjnb*eVMyAUArKgiKjYVe3JvOulB58O2*Iddq5SL*Ww1rLvbsRlo...      4/10
10/3/23, 1:51Case
              PM  23-40709          Doc 70-31 Filed 01/16/24
                                                      Case Details -Entered   01/16/24
                                                                     Massachusetts Trial Court13:03:39
                                                                                               N5                        Desc Exhibit
     Docket      Docket Text
                                          EE - Land Court Docket Page 6 of 11                                             Amount
     Date                                                                                                                  Owed Avail.
     10/06/2020 Citation published September 25, 2020. Returnable 11/09/2020
     10/20/2020 Land Court notice by publications Receipt: 418637 Date: 10/20/2020                                          $5.00
     10/20/2020 Land Court newspaper payments Voided on 10/20/2020.                                                         $0.00

                 Void Check number: 33258
                 Void Status Date: 10/20/2020
                 Void Reason: Printer Jam
                 Void Comments:
     10/20/2020 Land Court newspaper payments                                                                             $252.92
     10/21/2020 Unsuccessful Service.
                Method : Certified Mail
                Issued : 09/22/2020                                                                                                  Image
                Service : Service
                Served : 09/30/2020
                Return :10/02/2020
                On     : F. Jan Bluestein, a/k/a Jan Blaustein Scholes, R.E. Signatory & Agent for Westborough SPE
                LLC and Pres. of Babcock & Brown Adminstrative Services, Inc.
                Signed By :
                Reason : Unsuccessful
                Comment : attempted - not known
                Tracking #: 71901706197000959843
     11/03/2020 Registered Mail Service on Joseph Scarcella, Esq., Johnson Winter & Slattery, Counsel for David Lombe,
                Liquidator for Babcock and Brown Limited successful.                                                                 0
                Served on 10/14/2020                                                                                                 Image

     11/23/2020 Request to issue Citation to be served by Deputy Sheriff, filed
     12/10/2020 Citation by Deputy Sheriff to F. Jan Bluestein, a/k/a Jan Blaustein Scholes, R.E. Signatory & Agent for
                Westborough SPE LLC and Pres. of Babcock & Brown Adminstrative Services, Inc., Dyann Blaine, R.E.
                Signatory and Agent for Westborough SPE LLC, David Lombe, Liquidator for Babcock and Brown Limited,
                Joseph Scarcella, Esq., Johnson Winter & Slattery, Counsel for David Lombe, Liquidator for Babcock and
                Brown Limited issued. Returnable 02/01/2021.
     01/19/2021 Appearance of Iris Ann Leahy, Esq. for Town of Westborough, filed
     01/19/2021 Citation by Deputy Sheriff to Dyann Blaine, R.E. Signatory and Agent for Westborough SPE LLC, returned
                with service thereon.
     02/19/2021 Request to issue Special Citation, filed
     04/08/2021 Special Citation issued as to land described as: Property: Land and any building(s) thereon Containing
                29.336 AC (more or less) Location: 231 Turnpike Road Assessors: 32-48-0 Registry: Worcester District
                Registry of Deeds Book 19369, Page 75. Returnable 05/31/2021.
     04/08/2021 Land Court notices mailing - Certified Mail                                                                $11.96
                Issue Date: 04/08/2021
                Service: Service
                Method: Certified Mail
                Cost Per: 11.96

                 F. Jan Bluestein, a/k/a Jan Blaustein Scholes, R.E. Signatory & Agent for Westborough SPE LLC and
                 Pres. of Babcock & Brown Adminstrative Services, Inc.
                 Mailing Address
                 888 Avenue of the Americas
                 New York, NY 10001
                 Tracking Number: 71901706197000977816 Receipt: 422168 Date: 04/08/2021
     05/04/2021 Unsuccessful Service.
                Method : Certified Mail
                Issued : 04/08/2021                                                                                                  Image
                Service : Service
                Served :
                Return : 04/15/2021
                On     : F. Jan Bluestein, a/k/a Jan Blaustein Scholes, R.E. Signatory & Agent for Westborough SPE
                LLC and Pres. of Babcock & Brown Adminstrative Services, Inc.
                Signed By :
                Reason : Unsuccessful
                Comment : attempted - not known
                Tracking #: 71901706197000977816
     05/21/2021 Request to issue Special Citation, filed
     06/09/2021 Special Citation issued as to land described as: Property: Land and any building(s) thereon Containing
                29.336 AC (more or less) Location: 231 Turnpike Road Assessors: 32-48-0 Registry: Worcester District
                Registry of Deeds Book 19369, Page 75. Returnable 08/02/2021.
     06/10/2021 Land Court notices mailing - Certified Mail                                                                $11.96
                Issue Date: 06/10/2021
                Service: Service
https://www.masscourts.org/eservices/searchresults.page?x=fb*nLV2hYsKVXOA4Wbjnb*eVMyAUArKgiKjYVe3JvOulB58O2*Iddq5SL*Ww1rLvbsRlo...           5/10
10/3/23, 1:51Case
              PM  23-40709            Doc 70-31 Filed 01/16/24
                                                        Case Details -Entered   01/16/24
                                                                       Massachusetts Trial Court13:03:39
                                                                                                 N5                        Desc Exhibit
     Docket       Docket Text
                                            EE - Land Court Docket Page 7 of 11                                             Amount
     Date                                                                                                                    Owed Avail.
                  Method: Certified Mail
                  Cost Per: 11.96

                  F. Jan Bluestein, a/k/a Jan Blaustein Scholes, R.E. Signatory & Agent for Westborough SPE LLC and
                  Pres. of Babcock & Brown Adminstrative Services, Inc.
                  Mailing Address
                  34 Stern Lane
                  Atherton, CA 94027
                  Tracking Number: 71901706197000980878 Receipt: 423362 Date: 06/10/2021
     08/09/2021 Request to issue Citation to be served by Deputy Sheriff, filed
     08/17/2021 Citation by Deputy Sheriff to F. Jan Bluestein, a/k/a Jan Blaustein Scholes, R.E. Signatory & Agent for
                Westborough SPE LLC and Pres. of Babcock & Brown Adminstrative Services, Inc. issued. Returnable
                10/11/2021.
     09/20/2021 Citation by Deputy Sheriff to F. Jan Bluestein, a/k/a Jan Blaustein Scholes, R.E. Signatory & Agent for
                Westborough SPE LLC and Pres. of Babcock & Brown Adminstrative Services, Inc., returned with service
                thereon.                                                                                                               Image

     10/01/2021 Unsuccessful Service.
                Method : Certified Mail
                Issued : 06/10/2021                                                                                                    Image
                Service : Service
                Served
                Return : 09/21/2021
                On     : F. Jan Bluestein, a/k/a Jan Blaustein Scholes, R.E. Signatory & Agent for Westborough SPE
                LLC and Pres. of Babcock & Brown Adminstrative Services, Inc.
                Signed By :
                Reason : Unsuccessful
                Comment : no such number
                Tracking #: 71901706197000980878
     11/01/2021 Citation by Deputy Sheriff to David Lombe, Liquidator for Babcock and Brown Limited, Joseph Scarcella,
                Esq., Johnson Winter & Slattery, Counsel for David Lombe, Liquidator for Babcock and Brown Limited,
                returned with service thereon.
     11/01/2021 Affidavit as to Military Service filed.
     11/01/2021 Motion for General Default filed.
     11/01/2021 Printout from www.usps.com showing that the envelope with Tracking #:71901706197000980878 was
                returned to the sender on September 15, 2021 because the item had been unclaimed, filed.
     12/28/2021 Motion for General Default allowed. (Patterson, Rec.)

                  Judge: Patterson, Deborah J.
     01/04/2022 Letter from attorney Leahy, received.
     01/05/2022 Final Judgment entered as to tax-taking(s): Property: Land and any building(s) thereon Containing 29.336
                AC (more or less) Location: 231 Turnpike Road Assessors: 32-48-0 Registry: Worcester District Registry
                of Deeds Book 19369, Page 75.

                  Judge: Patterson, Deborah J.
     01/10/2022 Land Court overpayment refund disbursement                                                                  $155.91
                Notice of Disposition sent to: Iris Ann Leahy, Esq. 4 Open Square Way Suite 217 Holyoke,
                Massachusetts 01040
    I 01/04/2023 Land Court cost- vacation of judgment tax lien Receipt: 437156 Date: 01/04/2023                             $11.00
     01/04/2023 Defendant's Westborough SPE, LLC's Motion to Vacate foreclosure Judgment, filed.
                                                                                                                                       Image
     01/05/2023 Scheduled
                Judge: Patterson, Deborah J.
                Event: Motion to Vacate Judgment
                Date: 01/19/2023 Time: 02:00 PM
     01/05/2023 Ex Parte Motion for Approval of Memorandum of Lis Pendens,filed.
                                                                                                                                       Image
     01/05/2023 Summons and Hearing Notice issued on Application for Lis Pendens.
                Judge: Speicher, Hon. Howard P.
                Event: Hearing on Lis Pendens
                Date: 01/10/2023 Time: 09:00 AM
     01/10/2023 Hearing on defendant's motion for approval of a memorandum of lis pendens held by videoconference.
                Attorney Iris Ann Leahy appeared for the plaintiff. No attorney appeared on behalf of defendant
                Westborough SPE, LLC; however, Lolonyon Akouete, a non-attorney and manager of defendant,
                purported to appear pro se on behalf of the defendant. Attorney Leahy reported that there is no imminent
                sale pending of the subject property because there is a hearing on a motion to vacate scheduled for
                January 19, 2023 on the defendant's request to redeem the property. The court advised Mr. Akouete that
                an organization such as an LLC cannot be represented by a non-attorney, and that the court cannot go

https://www.masscourts.org/eservices/searchresults.page?x=fb*nLV2hYsKVXOA4Wbjnb*eVMyAUArKgiKjYVe3JvOulB58O2*Iddq5SL*Ww1rLvbsRlo...             6/10
10/3/23, 1:51Case
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                                                       Case Details -Entered   01/16/24
                                                                      Massachusetts Trial Court13:03:39
                                                                                                N5                           Desc Exhibit
     Docket       Docket Text
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     Date                                                                                                                      Owed Avail.
                  forward on the motion until the defendant engages an attorney to sign and file the motion on its behalf.
                  Accordingly, the court took no action on the motion for approval of a memorandum of lis pendens.
     01/13/2023 Event Resulted: Motion to Vacate Judgment scheduled on:
                    01/19/2023 10:00 AM
                Has been: Rescheduled. Motion to continue hearing to February 9, 2023 at 2:00pm, filed.                                  Image

     01/13/2023 Scheduled
                Judge: Patterson, Deborah J.
                Event: Motion to Vacate Judgment
                Date: 02/09/2023 Time: 02:00 PM
     01/30/2023 Plaintiff's Memorandum in Opposition to defendant Westborough SPE, LLC'S Motion to Vacate
                Foreclosure Judgment, filed.                                                                                             0
                                                                                                                                         Image
                                                                                                                                         0
     01/31/2023 Affidavit of Frances Juan Blaustein Scholes, filed by email.

     02/01/2023 Plaintiff's Objection to Pro Se Filings by the Defendant, filed.                                                             Fr

     02/02/2023 Emergency motion to continue the hearing, filed.                                                                             Fr
                                                                                                                                         Image
     02/02/2023 Event Resulted: Motion to Vacate Judgment scheduled on:
                    02/09/2023 02:00 PM
                Has been: Rescheduled to February 23, 2023 at 2:00pm
                Deborah J. Patterson, Presiding
     02/02/2023 Emergency motion to continue the hearing Allowed. Motion to Vacate Judgment continued to February 23,
                2023 at 2:00pm, no further continuance will be granted.

                  Judge: Patterson, Deborah J.
     02/02/2023 Scheduled
                Judge: Patterson, Deborah J.
                Event: Motion to Vacate Judgment
                Date: 02/23/2023 Time: 02:00 PM
     02/22/2023 Defendant, Westborough SPE, LLC, response to Plaintiff Memorandum in Opposition to Defendant's
                Motion to Vacate Foreclosure Judgment filed by email.
                                                                                                                                         Image
     02/22/2023 Appearance of Scott Adam Schlager, Esq. for Westborough SPE, LLC, filed
                                                                                                                                         1.         6
     02/22/2023 Appearance of Alvin S Nathanson, Esq. for Westborough SPE, LLC, filed                                                        FrJI
                                                                                                                                            lit     6
     02/22/2023 Defendant Westborough SPE, LLC's emergency motion for a brief continuance of hearing scheduled for                           FrJI
                February 22, 2023 because of recent engagement of legal counsel, filed.
                                                                                                                                         Image
     02/23/2023 Event Resulted: Motion to Vacate Judgment scheduled on:
                    02/23/2023 02:00 PM
                Has been: Rescheduled
                Deborah J. Patterson, Presiding
     02/23/2023 Defendant Westborough SPE, LLC's Emergency Motion for a brief continuance of hearing scheduled for
                February 22, 2023 because of recent engagement of legal counsel is ALLOWED. Motion to Vacate to be
                heard on March 23, 2023 at 2:00pm.

                  Judge: Kelley, Ellen M.
     02/23/2023 Scheduled
                Judge: Patterson, Deborah J.
                Event: Motion to Vacate Judgment
                Date: 03/23/2023 Time: 02:00 PM
     03/08/2023 Supplement to Plaintiff's opposition to defendant Westborough, SPE, LLC's motion to vacate foreclosure
                judgment, filed.                                                                                                         0
                                                                                                                                         Image
     03/23/2023 Notice, filed by Attorney Schlager..
                                                                                                                                         0
     03/23/2023 Notice, filed by Attorney Schlager.
                                                                                                                                            0.      0
     03/23/2023 Defendant Westborough SPE, LLC's Emergency Motion for a writ of Mandamus Ordering the Town of
                Westborough by and Through its Treasurer to Produce with Certification Signed Under the Penalties of
                Perjury the Amount for Redemption of Real Property Located at 231 Turnpike Road, Westborough,                            Image
                Massachusetts and Request for Extension of time , filed.
     03/23/2023 Defendant Westborough Spe, LIc's Emergency Motion In Limine To Exclude Any And All Testimony Of
                Plaintiff's Witnesses, Peter Blaustein, Legal Guardian, Convervator, Power Of Attorney For F. Jan                        0
                Blaustein A/K/A Jan Blaustein Scholes, And Dyann Blaine, As To Corporate Authority Or Causation,                         Image
                Barring Admission Of Any Evidence Of Unclaimed Fund Denial In California; And Barring Admission Of
                Any Evidence Of A Lay Witness As To Corporate Authority, That Is Irrelevant, Or Any Evidence That Is
                Speculative, Or Any Evidence That Is Unfairly Prejudicial, filed


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10/3/23, 1:51Case
              PM  23-40709           Doc 70-31 Filed 01/16/24
                                                       Case Details -Entered   01/16/24
                                                                      Massachusetts Trial Court13:03:39
                                                                                                N5                        Desc Exhibit
     Docket      Docket Text
                                           EE - Land Court Docket Page 9 of 11                                                Amount
     Date                                                                                                                      Owed Avail.
     03/23/2023 Event Resulted: Motion to Vacate Judgment scheduled on:
                    03/23/2023 02:00 PM
                Has been: Not held
     03/23/2023 Case has been ASSIGNED to the Honorable Howard P. Speicher
     03/29/2023 Scheduled
                Judge: Speicher, Hon. Howard P.
                Events: Date: 05/16/2023 Time: 10:15 AM

                 Defendant Westborough SPE, LLC's Emergency Motion for a writ of Mandamus Ordering the Town of
                 Westborough by and Through its Treasurer to Produce with Certification Signed Under the Penalties of
                 Perjury the Amount for Redemption of Real Property Located at 231 Turnpike Road, Westborough,
                 Massachusetts and Request for Extension of time

                 Defendant Westborough SPE, LLC's Motion for Issuance of a Memorandum of Lis Pendens and/or
                 Temporary Equitable Relief and for Permission to File a verification of its Motion to Vacate, filed.

                 Defendant Westborough Spe, LIc's Emergency Motion In Limine To Exclude Any And All Testimony Of
                 Plaintiff's Witnesses, Peter Blaustein, Legal Guardian, Convervator, Power Of Attorney For F. Jan
                 Blaustein A/K/A Jan Blaustein Scholes, And Dyann Blaine, As To Corporate Authority Or Causation,
                 Barring Admission Of Any Evidence Of Unclaimed Fund Denial In California; And Barring Admission Of
                 Any Evidence Of A Lay Witness As To Corporate Authority, That Is Irrelevant, Or Any Evidence That Is
                 Speculative, Or Any Evidence That Is Unfairly Prejudicial
     04/11/2023 Defendant Westborough SPE, LLC's Motion for Issuance of a Memorandum of Lis Pendens and/or
                Temporary Equitable Relief and for Permission to File a verification of its Motion to Vacate, filed.
                                                                                                                                         Image
     04/13/2023 Defendant Westborough SPE, LLC's Emergency Motion for Preliminary Injunctive Relief (Temporary
                Restraining Order), filed.
                                                                                                                                         Image
     04/18/2023 Notice, filed.
                                                                                                                                         I...
     05/03/2023 Plaintiff Town of Westborough's Opposition to Defendant Westborough SPE, LLC'S Emergency Motion for
                a Writ of Mandamus , filed.
                                                                                                                                         Image
     05/03/2023 Plaintiff Town of Westborough's Opposition to Defendant Westborough SPE, LLC'S Motion for Issuance of
                a Memorandum of Lis Pendens and/or Temporary Equitable Relief and for Permission to File a Verification
                of its Motion to Vacate,filed.                                                                                           Image

     05/04/2023 Assent of to the Entry of Judgment.

     05/04/2023 Waiver of Notice and Assent to the Entry of Judgment, filed.

     05/04/2023 Opposition, filed.
                                                                                                                                         6 0_
     05/05/2023 Citation by Deputy Sheriff to returned with service thereon.
                                                                                                                                         ••
     05/05/2023 Defendant Westborough SPE, LLC's Emergency Motion to Strike Peter Blaustein's Unlawful Filing of a
                Waiver of Notice and Assent to the Entry of Judgment and Motion for the Imposition of Mass. R. CIV P.
                Rule 11 Sanctions Against Attorney Iris A. Leahy, the Town of Westborough, and Peter Blaustein, for                      Image
                Assisting in the Perpetration of an Alleged Fraud on the Court, Unauthorized Practice of Law, and Conduct
                Prejudicial to the Administration of Justice, filed.
     05/15/2023 Defendant Westborough SPE, LLC's Reply to Plaintiff Town of Westborough's Opposition to Defendant
                Westborough SPE, LLC'S Motion for Issuance of a Memorandum of Lis Pendens and/or Temporary
                Equitable Relief and for Permission to File a Verification of its Motion to Vacate,filed.                                Image

     05/16/2023 Hearing on Westborough SPE, LLC's motion for a writ of mandamus, motion for issuance of a
                memorandum of lis pendens, motion for preliminary injunctive relief, and motion in limine held by
                videoconference. Attorneys Iris Ann Leahy and Scott Adam Schlager appeared and argued. Attorneys
                Alvin Nathanson and Edward Englander also appeared. Following argument, the motion in limine is
                DENIED without prejudice. Likewise, the motion for a writ of mandamus, motion for issuance of a
                memorandum of lis pendens, and motion for preliminary injunctive relief are DENIED. The court will hold
                an evidentiary hearing on Westborough SPE, LLC's motion to vacate judgment, to be scheduled in late
                July 2023, to determine whether Westborough SPE, LCC, having appeared in this case, is the taxpayer
                who has the right to redeem the subject property. Counsel are instructed to file requests for production of
                documents, if any, by June 2, 2023. Counsel must respond to the requests for production of documents by
                July 6, 2023, after which the court will schedule a pretrial conference. No other discovery, such as
                interrogatories or depositions, may be conducted.
     05/30/2023 Letter from Attorney Leahey, filed.

     05/30/2023 Plaintiff's Request for Production of Documents, filed.

     05/31/2023 Westborough SPE LLC's First Notice of Supplemental Authority in support of its Motion to Vacate, filed.
                                                                                                                                         6 0_
     06/02/2023 Defendant Westborough SPE, LLC's First Request for the Production of Documents to Plaintiff,Town of                          FvJI
                Westborough, filed.
                                                                                                                                         Imac
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10/3/23, 1:51Case
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                                                      Case Details -Entered   01/16/24
                                                                     Massachusetts Trial Court13:03:39
                                                                                               N5                       Desc Exhibit
     Docket      Docket Text
                                          EE - Land Court Docket Page 10 of 11                                           Amount
     Date                                                                                                                 Owed
     06/02/2023 Defendant Westborough SPE, LLC's First Request for the Production of Documents to Defendant F. Jan
                Blaustein a/k/a Jan Blaustein Scholes,R.E. Signatory &Agent for Westborough SPE, LLC's and Pres. of
                Babcock & Brown Administrative Services.,INC, filed.                                                                 Image

     06/30/2023 Defendant Westborough SPE, LLC's Notice of Supplementation, filed.
                                                                                                                                      I!       0
     07/06/2023 Defendant Westborough SPE, LLC's Second Notice of Supplementation, filed.                                              'FFJ


                                                                                                                                     Image
     07/11/2023 Defendant Westborough SPE, LLC's Responses and Objections to Plaintifff (First) Request for Production
                of Documents,filed
     07/11/2023 Plaintiff Town of Westborough's Response to Defendant's First Request for the Production of Documents
                to Plaintiff Town of Westborough, filed.
     07/13/2023 Scheduled
                Judge: Speicher, Hon. Howard P.
                Event: Pre-Hearing on Motion to Vacate Judgment
                Date: 08/10/2023 Time: 02:00 PM rescheduled to August 17, 2023 at 2pm.
     07/27/2023 Motion to continue Pre-trial Conference, filed.
                                                                                                                                       V       0
     07/27/2023 Defendant Westborough SPE, LLC's Opposition to the Town of Westborough's Motion to continue Pre-trial                  Fr
                Conference, filed.
                                                                                                                                     Image
     07/28/2023 Plaintiff Town of Westborough's amended motion to continue the pre-hearing conference on the pending
                motion to vacate is ALLOWED. The pre-hearing conference is rescheduled to August 31, 2023 at 2:00
                P.M. by videoconference.
     07/28/2023 Event Resulted: Pre-Trial Conference scheduled on:
                    08/17/2023 02:00 PM
                Has been: Rescheduled       For the following reason: Request of Plaintiff(s)
                Hon. Howard P. Speicher, Presiding
     07/28/2023 Scheduled
                Judge: Speicher, Hon. Howard P.
                Event: Pre-Trial Conference
                Date: 08/31/2023 Time: 02:00 PM
     07/28/2023 Amended Motion to continue Pre-trial Conference, filed.
                                                                                                                                       V      , 0
     08/24/2023 Notice of Statutory Attorneys' Lien by Nathanson & Goldberg P.C., filed.                                               4;7


     08/24/2023 Defendant Westborough SPE LLC's (First) Notice of Supplementation to Plaintiffs (First) Request for
                Production of Documents,fiiled.
                                                                                                                                     Image
     08/24/2023 Westborough SPE, LLC Limited Liability Agreement,filed.
                                                                                                                                       0!      0
     08/25/2023 Joint Pre-Trial Memorandum, filed.                                                                                     1Pr

     08/31/2023 SUGGESTION OF BANKRUPTCY, FILED.                                                                                       Fr
                                                                                                                                     Image
     08/31/2023 Notice of Docket Entry:
                Counsel for defendant Westborough SPE, LLC, to report to the court on the status of the bankruptcy
                petition by October 31, 2023 and every sixty days thereafter.
                Notice of the docket entry sent.
     08/31/2023 Event Resulted: Pre-Trial Conference scheduled on:
                    08/31/2023 02:00 PM
                Has been: Not held per request of the defendant.
                Hon. Howard P. Speicher, Presiding



     Financial Summary
     Cost Type                    Amount Owed               Amount Paid                Amount Dismissed                  Amount Outstanding
                                                                                _
     Cost                                $367.17                  $367.17                           $0.00                             $0.00
                                        $367.17                   $367.17                           $0.00                            $0.00

     Money on Deposit
     Account                                                                                                                 Applied Amount
     Land Court Deposit Holding                                                                                                     $141.17
                                                                                                                                   $141.17



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                                                                  Massachusetts Trial Court13:03:39
                                                                                            N5                                 Desc Exhibit
  •   Money Distributed by Court       EE - Land Court Docket       Page    11   of   11
      Payment Type                                                                                                                           Amount .,
      L/IJULAI DWI I let IL                                                                                                                  $558.83


                                                                                                                                            $558.83



      Check Information
      Created                 Payee Name                          Description                                            Account   Check     Amount
      08/28/2019              Michael H. Delaney                  Case: 19 TL 000768 Land Court examiner costs           LCD       31780     $150.00
      10/20/2020              Gatehouse Media MA 390711           Case: 19 TL 000768 Land Court newspaper payments       LCD       33258     $252.92
      10/20/2020              Gatehouse Media MA 390711           Case: 19 TL 000768 Land Court newspaper payments       LCD       33259     $252.92
      10/20/2020              Gatehouse Media MA 390711           Case: 19 TL 000768 Land Court newspaper payments       LCD       33258    -$252.92
      01/10/2022              Town of Westborough                 Case: 19 TL 000768 Land Court overpayment refund d     LCD       34880     $155.91




      Receipts
      Receipt Number                               Receipt Date                 Received From                                      Payment Amount
      405581                                       07/09/2019                   Town of Westborough                                          $515.00
      417793                                       09/01/2020                   Bloom, Esq., Dawn E                                          $400.00
      418144                                       09/23/2020                   Bloom, Esq., Dawn E                                           $59.75
      418145                                       09/23/2020                   Bloom, Esq., Dawn E                                           $52.50
      418637                                       10/20/2020                   Bloom, Esq., Dawn E                                            $5.00
      422168                                       04/08/2021                   Bloom, Esq., Dawn E                                           $11.96
      423362                                       06/10/2021                   Bloom, Esq., Dawn E                                           $11.96
      437156                                       01/04/2023                   Aaron B. O'Neal                                               $11.00
                                                                                                                                           $1,067.17




      Case Disposition
      Disposition                                               Date                          Case Judge
      Judgment Entered                                          01/05/2022                    Speicher, Hon. Howard P.




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